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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

WESLEY DANIEL VINEY,

Plaintiff,

v.                                                         Civil Action No.: CCB-22-44

LT. WILLIAM GRIESE,

Defendant

                                            ORDER

        THIS MATTER came before the Court on Defendant William Griese’s Motion for

Extension of Time to File Response. ECF No. ___. The motion is hereby granted.

        Accordingly, it is this ___ day of May, 2021, by the United States District Court for the

District of Maryland, hereby ORDERED that:

        1.       Defendant’s Motion for Extension of Time (ECF No. ___) is GRANTED to and

including July 5, 2022; and

        2.       The Clerk SHALL PROVIDE a copy of this Order to Plaintiff and to counsel for

Defendant.



                                                    ________________________________
                                                    Julie Rebecca Rubin
                                                    United States District Judge
